Case 2:85-cv-04544-DMG-AGR Document 957 Filed 08/28/20 Page 1 of 6 Page ID #:40786



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    13
    14                         UNITED STATES DISTRICT COURT
    15                        CENTRAL DISTRICT OF CALIFORNIA
    16                                   WESTERN DIVISION
    17
    18   JENNY LISETTE FLORES, et al.,           No. CV 85-4544-DMG-AGRx
    19
               Plaintiffs,                       APPLICATION FOR LEAVE TO FILE UNDER
    20                                           SEAL PORTIONS OF EXHIBIT 1 TO THE
         v.                                      DECLARATION OF MELISSA ADAMSON
    21
                                                 SUBMITTED IN SUPPORT OF PLAINTIFFS’
         WILLIAM BARR, Attorney General of
    22                                           REPLY TO OPPOSITION TO MOTION TO
         the United States, et al.,
                                                 ENFORCE SETTLEMENT RE “TITLE 42”
    23
                                                 CLASS MEMBERS
    24         Defendants.
                                                 Hearing: Sept. 4, 2020
    25
                                                 Time: 11:00 a.m.
    26                                           Hon. Dolly M. Gee
    27
    28
Case 2:85-cv-04544-DMG-AGR Document 957 Filed 08/28/20 Page 2 of 6 Page ID #:40787



     1
               APPLICATION FOR LEAVE TO FILE UNDER SEAL PORTIONS OF
     2
                 EXHIBIT 1 TO THE DECLARATION OF MELISSA ADAMSON
     3
             SUBMITTED IN SUPPORT OF PLAINTIFFS’ REPLY TO OPPOSITION TO
     4
         MOTION TO ENFORCE SETTLEMENT RE “TITLE 42” CLASS MEMBERS
     5
                Plaintiffs submit this unopposed1 Application seeking leave from the Court to
     6
         file under seal portions of Exhibit 1 to the Declaration of Melissa Adamson submitted
     7
         in support of Plaintiffs’ Reply to Opposition to Motion to Enforce Settlement Re
     8
         “Title 42” Class Members, pursuant to Federal Rule of Civil Procedure 5.2(d) and
     9
         Local Rule 79-5. The portions of the Exhibit 1 Plaintiffs seek to seal contain
    10
         personally identifying information about children in Department of Homeland
    11
         Security (“DHS”) immigration custody. As required by Local Rule 79-5.2.2(a),
    12
         Plaintiffs submit concurrently with this application the declaration of Leecia Welch, a
    13
         proposed order, and redacted and unredacted versions of Exhibit 1.
    14
                The portions of Exhibit 1 that Plaintiffs seek to seal are detained children’s
    15
         Subject ID numbers which can be used to identify them. The children identified in
    16
         Exhibit 1 are minors in the immigration detention custody of DHS. These youth have
    17
         an interest in maintaining their privacy during and following immigration custody.
    18
                                          LEGAL STANDARD
    19
                Because the public generally has a “right to inspect and copy public records
    20
         and documents, including judicial records and documents,” there is “a strong
    21
         presumption in favor of access to court records.” Ctr. for Auto Safety v. Chrysler
    22
         Grp., LLC, 809 F.3d 1092, 1096 (9th Cir. 2016) (internal quotation marks and
    23
         citations omitted). Accordingly, “a court may seal records only when it finds a
    24
         compelling reason and articulate[s] the factual basis for its ruling, without relying on
    25
         1
    26  Defendants’ counsel (Ms. Sarah Fabian, Senior Litigation Counsel, Office of
       Immigration Litigation, PO Box 868. Ben Franklin Station, Washington, DC 20044,
    27 (202) 532-4824, Sarah.B.Fabian@usdoj.gov) has informed Plaintiffs that Defendants
    28 do not oppose this Application.

                                                                  APPLICATION FOR LEAVE TO FILE UNDER SEAL
                                                     1                             CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 957 Filed 08/28/20 Page 3 of 6 Page ID #:40788



     1
         hypothesis or conjecture.” Id. at 1096-97. Under this standard, the “party seeking to
     2
         seal a judicial record then bears the burden of . . . articulat[ing] compelling reasons
     3
         supported by specific factual findings . . . that outweigh the general history of access
     4
         and the public policies favoring disclosure, such as the public interest in
     5
         understanding the judicial process.” Kamakana v. City & Cty. of Honolulu, 447 F.3d
     6
         1172, 1178-79 (9th Cir. 2006) (internal quotation marks and citations omitted). The
     7
         court must “conscientiously balance[] the competing interests of the public and the
     8
         party who seeks to keep certain judicial records secret.” Id. at 1179 (internal
     9
         quotation marks and citations omitted).
    10
                                               ARGUMENT
    11
               There are compelling reasons to seal portions of Exhibit 1 to the Declaration of
    12
         Melissa Adamson Submitted in Support of Plaintiffs’ Reply to Opposition to Motion
    13
         to Enforce Settlement Re “Title 42” Class Members. Exhibit 1 contains the Subject
    14
         ID numbers of children which is the information Plaintiffs seek to seal. These are
    15
         unique identifiers that could be used to ascertain the identities of these children, who
    16
         are in immigration custody.
    17
         I.    Compelling reasons support the sealing of the personally identifying
    18
               information of children in DHS custody.
    19
               Plaintiffs’ Motion to Enforce and the supporting Exhibits implicate the privacy
    20
         interests for the children held in DHS custody pursuant to Title 42 and thus protection
    21
         of their identities is warranted. First, the claims address details of the children’s
    22
         immigration detention. Federal law and policy maintain personally identifying
    23
         information related to such matters as confidential, particularly for minors in federal
    24
         immigration custody. See, e.g., 8 C.F.R. § 236.6 (prohibiting release of “the name of,
    25
         or other information relating, to” immigration detainees); 8 C.F.R. § 208.6
    26
         (maintaining confidentiality of asylum applications and related records).
    27
    28

                                                      2             APPLICATION FOR LEAVE TO FILE UNDER SEAL
                                                                                     CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 957 Filed 08/28/20 Page 4 of 6 Page ID #:40789



     1
               Further, the children’s identifying information should also be protected because
     2
         the sensitive subject matter at issue – their immigration detention – is based
     3
         exclusively on their experiences as minors. Courts consider the age of a party to be a
     4
         “significant factor in the matrix of considerations arguing for anonymity” based on a
     5
         recognition of the “special vulnerability” of minors. Doe v. Stegall, 653 F.2d 180, 186
     6
         (5th Cir. 1981); see also Sealed Plaintiff v. Sealed Defendant #1, 537 F.3d 185, 190
     7
         (2d Cir. 2008) (stating that an important factor in the balancing inquiry is “whether
     8
         the plaintiff is particularly vulnerable to the possible harms of disclosure, particularly
     9
         in light of his age”) (internal citations omitted).
    10
               Sealing of the Subject ID numbers of the children listed in Exhibit 1 is
    11
         necessary to protect their identities. These Subject ID numbers are individual
    12
         identifiers that uniquely identify the children to whom they correspond.
    13
         II.   Plaintiffs’ sealing request is narrowly tailored.
    14
               Plaintiffs seek only a limited sealing order that permits them to file portions of
    15
         Exhibit 1 under seal. Other relevant information important to Plaintiffs’ presentation
    16
         of the issues would still be maintained in the public record, and the Court’s resolution
    17
         of these matters will be public as well. Accordingly, sealing the Subject ID numbers
    18
         contained in Exhibit 1 is the least restrictive method of ensuring the subject children’s
    19
         privacy while permitting the public access to the maximum amount of information.
    20
                                              CONCLUSION
    21
               For the reasons set forth above, Plaintiffs respectfully request leave to file
    22
         under seal portions of Exhibit 1.
    23
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                                                      3             APPLICATION FOR LEAVE TO FILE UNDER SEAL
                                                                                     CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 957 Filed 08/28/20 Page 5 of 6 Page ID #:40790



     1   Dated: August 28, 2020     CENTER FOR HUMAN RIGHTS AND
     2                              CONSTITUTIONAL LAW
                                    Carlos R. Holguín
     3
     4                              NATIONAL CENTER FOR YOUTH LAW
                                    Leecia Welch
     5                              Neha Desai
     6                              Poonam Juneja
                                    Freya Pitts
     7                              Melissa Adamson
     8
     9                              ___________________________________
                                    /s/ Leecia Welch
    10                              Leecia Welch
                                    One of the Attorneys for Plaintiffs
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                                              4           APPLICATION FOR LEAVE TO FILE UNDER SEAL
                                                                           CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 957 Filed 08/28/20 Page 6 of 6 Page ID #:40791



     1
                                   CERTIFICATE OF SERVICE
     2
               I hereby certify that on August 28, 2020, I caused a copy of Plaintiffs’
     3
         Application for Leave to File Under Seal, the accompanying Declaration in Support
     4
         of the Application, and Exhibit 1 to be served by email to the following counsel listed
     5
         below:
     6
     7   Sarah B. Fabian,
         sarah.b.fabian@usdoj.gov
     8   Civil Division – Office of Immigration
     9   Litigation
         US Department of Justice
    10   PO Box 868
    11   Ben Franklin Station
         Washington, DC 20044
    12
    13   Dated: August 28, 2020
    14                                                      /s/ Leecia Welch
                                                           Leecia Welch
    15
    16

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                                                    5            APPLICATION FOR LEAVE TO FILE UNDER SEAL
                                                                                  CV 85-4544-DMG (AGRX)
